                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

                                                      )
AMAZON.COM, INC.,                                     )
                                                      )
                       Plaintiff,                     )
                                                          Case No. I : l 5-cv-00682-AJT-IDD
              v.                                      �
                                                      )
STRAIGHT PATH IP GROUP, INC.,                         )
                                                      )
                       Defendant.                     )
_________________                                     )

            JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Rules 4l(a)(l )(A)(ii) and 4l(c) of the Federal Rules of Civil Procedure,

Amazon.com, Inc. ("Amazon") LG Electronics, Inc., LG Electronics U.S.A., Inc., and LG Elec­

tronics MobileComm U.S.A., Inc. (collectively, "LG"), and VIZIO, Inc. ("VIZIO") and Straight

Path IP Group, Inc. ("Straight Path"), through their counsel of record, hereby stipulate and agree,

to the dismissal of all claims and counterclaims in this action without prejudice.

       1.      On October 14, 2014, Amazon filed a Complaint against Straight Path in the

United States District Court for the Northern District of California seeking a declaratory judg­

ment of non-infringement of U.S. Patent Nos. 6,009,469 (the '"469 patent"), 6,108,704 (the

'"704 patent"), and 6,131,121 (the '"121 patent"). (Case No. 5:14-cv-04561-EJD, Dkt. 1.)

       2.      On May 29, 2015, this case was transferred to this Court. (Case No. 5:14-cv-

04561-EJD, Dkt. 45.)

       3.      On August 26, 2016, the Court ordered that Straight Path's claims against LG

Electronics Inc., LG Electronics MobileComm U.S.A., Inc., LG Electronics U.S.A., Inc. (collec­

tively, "LGE"), and VIZIO, Inc. ("VIZIO") that were pending in Civil Action No. I:13-cv-0934

(the "934 action") directed to Amazon Instant Video were severed from the 934 action, to be "re-
solved together with Amazon's related declaratory judgment claims and any infringement coun­

terclaims Straight Path may assert in [this] action". (Dkt. No. 75.)

       4.      On September 15, 2017, Straight Path filed Counterclaims against Amazon alleg-

ing that Amazon infringes the '469 patent, the '704 patent, and the '121 patent. (Dkt. 99.)

       5.      During the pendency of this case, Straight Path filed suit in Northern District of

California against Cisco Systems, Inc. and Apple Inc., in Straight Path IP Group, Inc. v. Cisco

Systems, Inc., No. 16-cv-03463, and Straight Path IP Group Inc. v. Apple Inc., No. 16-cv-03582.

(the "Cisco and Apple cases").

        6.     The Asserted Patents in this action are also at issue in the Cisco and Apple cases,

alongside two additional patents from Straight Path's portfolio.

        7.     On Monday, November 13, 2017, the court in the Cisco and Apple cases granted

Cisco and Apple's motions for summary judgment of noninfringement based upon its application

of the Federal Circuit's construction of "is connected to the computer network" provided in

Straight Path IP Group, Inc. v. Sipnet EU S.R.O., 806 F.3d 1356, 1363 (Fed. Cir. 2015). See Or­

der, Straight Path IP Group, Inc. v. Apple Inc., Case No. I 6-cv-03582, Dkt. No. 155.

        8.      Straight Path will be filing a notice of appeal to the Federal Circuit for review of

the court's application of the term "is connected to the computer network."

        9.      Accordingly, the parties hereby stipulate that all claims, counterclaims, and de-

fenses asserted against each other in this case which includes Straight Path's claims against LG

and VIZIO in the 934 action directed to Amazon Instant Video that were severed to be included

in the 682 action (Dkt. No. 75), shall be dismissed without prejudice pursuant to Fed. R. Civ. P.

4l(a)(l )(A)(ii) and Fed. R. Civ. P. 41(c).




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          10.   The parties fu1ther agree that any statute of limitations applicable to Straight

Path's infringement claims against Amazon, LG, and VIZIO are hereby tolled as if the case were

stayed.

          11.   The parties further stipulate that they will bear their own attorney's fees, costs,

and all other expenses incurred in litigating this case in the event that Straight Path does not re­

file this case after it has exhausted its appeals in the Cisco and App le cases. The parties ex­

pressly reserve their right to seek attorneys' fees, costs, and all other expenses incurred in litigat­

ing this case in the event that Straight Path refiles this case.

          12.   Nothing in this Stipulation shall be construed as an admission of liability or

wrongdoing of any kind by any of the parties hereto.

                         ENDORSEMENTS ON FOLLOWING PAGES



                        SO ORDERED this ;)..(}'61.aay of November 2017.



Alexandria, Virginia




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